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sssmj§)§iz;& T, DEBRA GAWOR,

F€)lHXBMITH and JoANN

MORRIS, on behalf of themselves

and all others similarly situated,

CLERK
U. S. DlSTR|CT COUF¥T
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Plaintiffs,
V. CV-03-A-748-N
RITE AID CORPORATION

Defendant.

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REPORT OF PARTIES’ PLANNING MEETING
COME NOW, the parties, and file With the Court the following Report of

Parties’ Planning Meeting pursuant to Federal Rule of Civil Procedure 26(f).
Plaintiffs assert claims on behalf of themselves and similarly situated Store
Managers and Assistant Store Managers as a collective action under Section
216(b) of the Fair Labor Standards Act (hereinafter “FLSA”) against Rite Aid
Corporation (hereinafter “Rite Aid”). Plaintiffs seek unpaid compensation,
liquidated damages and/or pre-judgment interest to enforce the terms of the Fair
Labor Standards Act. Rite Aid denies the existence of any group or class of
employees similarly situated to Plaintiffs, and it further denies that Plaintiffs’

claims possess any merit Whatsoever.

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The parties have conferred as further specified below, and propose that they
first be permitted to establish a schedule to address whether, if at all, and to what
extent this matter should proceed as a collective action, hereinafter the “pre-notice
determination” period. If the Court permits an opt-in procedure, a new scheduling
order will be submitted by the parties to address the claims of the opt-in-plaintiffs,
if any. If the Court does not permit others to opt-in, the parties will then propose a
scheduling order to complete discovery and establish a dispositive motions
deadline consistent with trying this matter during the Court’s August 16, 2004 trial
term. Accordingly, the parties outline below their proposed pre-notice
determination schedule for discovery and briefing of the issue of whether and to
what extent this matter should proceed as a collective action.

l. Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on Monday,
October 20, and Tuesday, October 21, 2003 and the following counsel participated:

Rocco Calamusa, Jr. on behalf of Plaintiffs Sandra Holt, Debra Gawor,
Polly Smith and Joann Morris; and

Nancy E. Rafuse and Daniel E. Turner on behalf of Defendant Rite Aid
Corporation.

2. Pre-Discovery Disclosures. The parties will exchange by Thursday,
November 20, 2003, the information required by Local Rule 26.l(a)(l). The

parties agree to exchange all relevant information relating to the named Plaintiffs

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and to treat their claims as individual claims for purposes of responding to the
November 20, 2003 disclosures required by Local Rule 26.l(a)(l).

3. Discovery Plan. The parties jointly propose to the Court the following
plan:

a. Discovery concerning pre-notice determination issues will
commence on Monday, November 20, 2003, and will proceed involving the
allegations of Plaintiffs Holt, Gawor, Smith and Morris, and any declarants or
affiants from whom they intend to or do present testimony in support of their
Motion for Conditional Certification and Notice. Discovery will be limited to
identifying with specificity the claims of the Plaintiffs, and Plaintiffs’ declarants
and affiants, if any, and to ascertain whether and to what extent, this matter should
proceed as a collective action, and to whom, if anyone, notice should be sent and
how. If the court permits other individuals to opt in, a separate deadline for
discovery related to opt-ins will be established and discovery should proceed on
the claims of the opt-in plaintiffs.

Plaintiffs agree to provide copies of all declarations and affidavits
currently in Plaintiffs’ possession, custody and/or control on November 20, 2003,
and to supplement no less often than monthly thereafter. Plaintiffs agree to
provide to Defendant the names of all witnesses upon whom they will rely to

support their Motion for Conditional Certification and Notice at least thirty (3 0)

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days before their Motion for Conditional Certification and Notice is due to be
filed. Defendant agrees to provide to Plaintiffs the names of all witnesses upon
whom they will rely to support their Opposition to Motion for Conditional
Certification and Notice at least thirty (30) days before its opposition is due to be
filed.

Defendant proposes that it be permitted to serve Interrogatories,
Requests for Production of Documents and Requests for Admissions, as outlined
below, on each declarant and affiant by and through Plaintiffs’ counsel.

Defendant shall be permitted to depose each declarant and affiant
prior to responding to Plaintiffs’ Motion for Conditional Certification and Notice.

b. Maximum of 20 individual interrogatories by Defendant to each
Plaintiff and 10 global interrogatories by Defendant to Plaintiffs. Maximum of 60
interrogatories by Plaintiffs to Defendant during the pre~notice discovery period.
Responses due 33 days after service.

c. No current numerical limit on requests for production by each
party to any other party, and by Defendant on Plaintiffs’ affiants or declarants.
Responses due 33 days after service.

d. The parties currently propose no numerical limit on the number of
depositions each party may take because they cannot presently accurately assess

the scope of this litigation. The parties agree to in good faith depose only those

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witnesses necessary to issues relevant to the pre-notice determination stage of this
litigation. Defendant will be permitted to depose all opt-ins, if the Court permits
any opt-in Plaintiffs.

e. Reports from retained experts relating to pre-notice determination
under Rule 26(a)(2) due:

from Plaintiffs, no later than thirty (3 0) days before their
Motion for Conditional Certification and Notice is due to be filed. Defendant shall
depose all such experts prior to serving Defendant’s expert reports.

from Defendant, no later than sixty (60) days after Plaintiffs
serve reports from retained experts Plaintiffs shall have forty-five (45) days
thereafter in which to depose Defendant’s expert.

f. Supplementations under Rule 26(e), if necessary, should be made
no less often than monthly until Defendant responds to Plaintiffs’ Motion for
Conditional Certification and Notice, and thereafter during the pre-notice
determination stage as required by Rule 26(e).

g. Depositions shall be limited to seven hours, unless the parties
consent otherwise or seek Court approval.

4. Motion for Conditional Certification and Notice.
Plaintiffs’ Motion for Conditional Certification and Notice must be

filed on or before February l2, 2004. Defendant will then have a reasonable

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opportunity to depose any declarants or affiants from whom Plaintiffs present
testimony in support of their Motion for Conditional Certification and Notice.

The parties agree in good faith to complete the depositions in a timely
manner and to provide reasonable resources to complete the discovery of the
affiants and declarants, as well as any other discovery, as soon as reasonably
possible. Defendant’s Response to Plaintiffs’ Motion for Conditional Certification
and Notice shall be due thirty (30) days after the last affiant and/or declarant is
deposed, unless the parties agree otherwise.

Plaintiffs reply, if any, shall be due thirty (3 0) days after Defendant
has filed its opposition.

5. Other Items.

a. The parties do not request a conference with the court before entry
of this scheduling order.

b. The parties request a conference to be scheduled after the issue of
conditional certification and notice to potential opt-ins has been resolved and the
Court has determined the scope of this case.

c. Plaintiffs should be allowed to amend pleadings and join additional
parties only in the manner specified and permitted by the Federal Rules of Civil

Procedure.

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d. Defendant should be allowed to amend pleadings and join

additional parties only in the manner specified and permitted by the Federal Rules

of Civil Procedure.

e. Settlement cannot be realistically evaluated at this time.

DATED this Z id day Of

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, 2003.

Respectfully Submitted,

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Georgia Bar No. 621717
Daniel E. Turner, Esq.
Georgia Bar No. 719330

Admitted Pro Hac Vz`ce

 

Counselfor Defendant
Rite Aid Corporation

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§occo Calamusa, Jr.,\`§sq.

Counselfor Plaintiffs

